                   Case 14-31962                    Doc 22             Filed 08/03/15 Entered 08/03/15 15:47:48                       Desc Main
                                                                         Document     Page 1 of 3
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re         Inas Almasry                                                                                        Case No.       14-31962
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Bank Of America                                                  -                        5,277.90
      accounts, certificates of deposit, or                   Checking Account No. ending with 0034
      shares in banks, savings and loan,                      Overdrawn by $200 as of today
      thrift, building and loan, and
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Used Furniture and Appliances                                    -                        1,000.00
      including audio, video, and
      computer equipment.

5.    Books, pictures and other art                           Personal Items                                                   -                           300.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Used Clothing                                                    -                           500.00

7.    Furs and jewelry.                                   X

8.    Firearms and sports, photographic,                      Camera                                                           -                           100.00
      and other hobby equipment.

9.    Interests in insurance policies.                        Whole Life Insurance                                             -                           300.00
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                               Sub-Total >            7,477.90
                                                                                                                   (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                   Case 14-31962                    Doc 22             Filed 08/03/15 Entered 08/03/15 15:47:48                       Desc Main
                                                                         Document     Page 2 of 3
B6B (Official Form 6B) (12/07) - Cont.




  In re         Inas Almasry                                                                                        Case No.       14-31962
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                    X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                    X
    ventures. Itemize.

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                  X

17. Alimony, maintenance, support, and                        Child Support                                                    -                     162,000.00
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                         Potential claim under constructive trust theories for            -                      Unknown
    claims of every nature, including                         the real property located at
    tax refunds, counterclaims of the                         52 Ridgewood Road
    debtor, and rights to setoff claims.                      Milton, MA 02186
    Give estimated value of each.                             Property is encumbered by a mortgage and has no
                                                              equity.

                                                                                                                               Sub-Total >        162,000.00
                                                                                                                   (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                   Case 14-31962                    Doc 22             Filed 08/03/15 Entered 08/03/15 15:47:48                       Desc Main
                                                                         Document     Page 3 of 3
B6B (Official Form 6B) (12/07) - Cont.




  In re         Inas Almasry                                                                                        Case No.        14-31962
                                                                                                        ,
                                                                                       Debtor

                                          SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                              (Continuation Sheet)

                                                          N                                                                Husband,        Current Value of
                Type of Property                          O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                 Joint, or   without Deducting any
                                                          E                                                               Community Secured Claim or Exemption
                                                              Pentional claim against former spouse for                         -                     Unknown
                                                              missing/stolen jewelry

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                           Medical Licenses No. 234023                                       -                             0.00
    general intangibles. Give
    particulars.                                              Drivers License                                                   -                             0.00

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2006 Cadillac Escalade with 190,000 Miles                         -                       5,732.00
    other vehicles and accessories.                           Value Per KBB, PPV

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                            X

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X

35. Other personal property of any kind                   X
    not already listed. Itemize.




                                                                                                                               Sub-Total >            5,732.00
                                                                                                                   (Total of this page)
                                                                                                                                    Total >       175,209.90
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
